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11    Attorneys for Plaintiff DC Comics
12
                           UNITED STATES DISTRICT COURT
13
                         CENTRAL DISTRICT OF CALIFORNIA
14
15    DC COMICS,                               Case No. CV 10-3633 ODW (RZx)
16                Plaintiff,                   DISCOVERY MATTER
17          v.                                 DECLARATION OF CASSANDRA
18    PACIFIC PICTURES                         SETO IN SUPPORT OF DC
      CORPORATION; IP WORLDWIDE,               COMICS’ MOTION FOR LEAVE
19    LLC; IPW, LLC; MARC TOBEROFF,            TO SERVE SIX ADDITIONAL
      an individual; MARK WARREN               INTERROGATORIES ON
20    PEARY, as personal representative of     DEFENDANT MARC TOBEROFF
      the ESTATE OF JOSEPH SHUSTER;
21    JEAN ADELE PEAVY, an individual;         Judge:          Hon. Otis D. Wright II
      LAURA SIEGEL LARSON,
22    individually and as personal             Magistrate:     Hon. Ralph Zarefsky
      representative of the ESTATE OF
23    JOANNE SIEGEL, and DOES 1-10,            Hearing Date:        Jan. 30, 2012
      inclusive,                               Hearing Time:        10:00 a.m.
24                                             Courtroom:           540
                  Defendants.                  Discovery Cutoff:    None Set
25
                                               Pretrial Conference: None Set
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                                                     SETO DECL. IN SUPPORT OF DC’S MOT.
                                                       FOR LEAVE TO SERVE ADDT’L ROGS
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  1                       DECLARATION OF CASSANDRA SETO
  2           I, Cassandra Seto, declare and state as follows:
  3           1.   I am an attorney licensed to practice in the State of California and
  4   admitted to the Central District of California. I am an associate at O’Melveny &
  5   Myers LLP, counsel of record for plaintiff DC Comics in the above-entitled action.
  6   I make this declaration in support of DC’s Motion for Leave to Serve Six
  7   Additional Interrogatories on Defendant Marc Toberoff. I have personal
  8   knowledge of the matters set forth in this declaration.
  9           2.   Attached hereto as Exhibit A is a true and correct copy of a parking pass
10    to 20th Century Fox Studios produced by defendants on December 7, 2010.
11            3.   Attached hereto as Exhibit B is a true and correct copy of DC Comics’
12    First Set of Interrogatories To Defendant Marc Toberoff, dated December 10, 2010.
13            4.   Attached hereto as Exhibit C is a true and correct copy of DC Comics’
14    First Set of Requests for Production to Defendants Pacific Pictures Corporation, IP
15    Worldwide, LLC, and IPW, LLC, dated December 10, 2010.
16            5.   Attached hereto as Exhibit D is a true and correct copy of an e-mail
17    exchange between Mr. Toberoff and employees of Paramount Pictures produced by
18    defendants on December 17, 2010, and reproduced by designation on January 24,
19    2011.
20            6.   Attached hereto as Exhibit E is a true and correct copy of DC Comics’
21    First Set of Interrogatories to Defendants Pacific Pictures Corporation, IP
22    Worldwide, LLC, and IPW, LLC, dated July 1, 2011.
23            7.   Attached hereto as Exhibit F is a true and correct copy of a letter sent by
24    my colleague Matthew Kline to Mr. Toberoff and counsel for defendants, dated
25    July 7, 2011.
26            8.   Attached hereto as Exhibit G is a true and correct copy of a letter sent
27    by counsel for the defendants to Mr. Kline, dated July 25, 2011.
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                                                          SETO DECL. IN SUPPORT OF DC’S MOT.
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                                                            FOR LEAVE TO SERVE ADDT’L ROGS
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  1         9.    Attached hereto as Exhibit H is a true and correct copy of defendant
  2   Pacific Pictures Corporation’s response to DC’s first set of interrogatories, dated
  3   August 1, 2011.
  4         10. Attached hereto as Exhibit I is a true and correct copy of Defendant IP
  5   Worldwide, LLC’s Response to Plaintiff DC Comics’ First Set of Interrogatories,
  6   dated August 1, 2011.
  7         11. Attached hereto as Exhibit J is a true and correct copy of defendant
  8   IPW, LLC’s Response to Plaintiff DC Comics’ First Set of Interrogatories, dated
  9   August 1, 2011.
10          12. Attached hereto as Exhibit K is a true and correct copy of DC Comics’
11    Second Set of Interrogatories to Defendant Marc Toberoff, dated August 3, 2010.
12          13. Attached hereto as Exhibit L is a true and correct copy of a letter sent by
13    Mr. Kline to counsel for the defendants, dated August 3, 2011.
14          14. Attached hereto as Exhibit M is a true and correct copy of a letter sent
15    by counsel for the defendants to Mr. Kline, dated August 10, 2011.
16          15. Attached hereto as Exhibit N is a true and correct copy of an e-mail
17    exchange among myself, Mr. Kline, my colleague Daniel Petrocelli, and counsel for
18    the defendants, dated August 10-11, 2010.
19          16. Attached hereto as Exhibit O is a true and correct copy of Defendant
20    Marc Toberoff’s Response To Plaintiff DC Comics’ Second Set of Interrogatories,
21    dated September 6, 2011.
22          17. Attached hereto as Exhibit P is a true and correct copy of an e-mail sent
23    by Mr. Petrocelli to Mr. Toberoff and counsel for the defendants, dated September
24    16, 2011.
25          18. Attached hereto as Exhibit Q is a true and correct copy of an e-mail sent
26    by counsel for the defendants to Mr. Petrocelli, dated September 22, 2011.
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                                                         SETO DECL. IN SUPPORT OF DC’S MOT.
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                                                           FOR LEAVE TO SERVE ADDT’L ROGS
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              19.   Attached hereto as Exhibit R is a true and correct copy or a letter sent
  2 I by defendant Laura Siegel Larson to her half-brother Michael Siegel on July II,
  3 I 2003.
  4 I         I declare under penalty of perjury under the laws of the United Statcs that the

  5 I foregoing is true and correct and that this declaration is executed this 20th day or
  6 I December, 2011, at Los Angeles, California.
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